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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
      vs.                                 )                 Case No. 11-40065-06/07-JAR
                                          )
ANGELA LOPEZ and,                         )
ADRIENNE LOPEZ,                           )
                                          )
                        Defendants.       )
                                          )
__________________________________________)


                               MEMORANDUM AND ORDER

       This matter is before the Court on Defendant Adrienne Lopez’s Motion to Suppress

Evidence Regarding Car Stop, Drug Dog Search, and Statements (Doc. 74) and Defendant

Angela Marie Lopez’s Motion to Suppress Evidence (Doc. 70). The Court held an evidentiary

hearing on February 11, 2014, where it took the motions under advisement. Having reviewed

the briefs, evidence, and arguments presented by the parties, the Court is now prepared to rule.

As described more fully below, the Court denies Defendants’ motions.

I.     FACTS

       Kansas Highway Patrol (“KHP”) Trooper Robert Krause was patrolling US Highway 54

in Seward County, Kansas when he stopped an eastbound vehicle for driving 79 mph in a 65

mph zone. The vehicle was rental car that displayed California license plates. The driver was

identified as Angela Marie Lopez of El Monte, California and the passenger was identified as

Adrienne Lopez of Pico Rivera, California. Trooper Krause told the two women that he stopped

them for speeding. He requested Angela’s driver’s license, proof of insurance and rental

agreement. Angela told Trooper Krause that she lost her license; and she handed him a
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“printout” from the California Department of Motor Vehicles, and her social security card.

Trooper Krause testified that the printout was not a temporary license and did not provide

photographic identification. The printout did identify the expiration date of Angela’s driver’s

license, and her date of birth.

       Adrienne also volunteered to give Trooper Krause her identification but he declined her

offer at that time. Trooper Krause asked the two women about their travel origination and

destination. Adrienne responded that they were headed to Kansas City or Nebraska to pick up

their sister who was being abused by her boyfriend. Adrienne could not confirm the city where

her sister was located. Trooper Krause asked if they had any drugs in the car. Both women

denied having drugs, but Adrienne remarked, “I need some marijuana because this ride is taking

too damn long.”

       Trooper Krause then asked if they had stopped anywhere to sleep. The rental paperwork

provided by Angela showed that they had rented the car the day before at 5:30p.m. in El Monte

California and that it was due back in less than 24 hours. Adrienne responded that they had

picked up the car at 6:00p.m. the night before but had not spent the night anywhere. They had,

however, stopped several times to eat and get fuel.

       Trooper Krause returned to his patrol vehicle to run a check on Angela’s license. The

KHP dispatcher responded that Angela had no warrants and that her license was valid.

       Trooper Krause issued Angela a written warning for speeding and not having her driver’s

license in her possession. Trooper Krause wished them a safe trip and began to walk away from

their rental car. At this point, about twelve minutes had passed from the initial stop to this point.

Angela turned on the right turn signal, signifying her readiness and intent to drive away. As


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Trooper Krause reached the trunk area of their rental car, he did a 180-degree turn and re-

approached their car, asking the two women if they would answer a few more questions. They

agreed.

          Trooper Krause again asked where they were headed. Adrienne responded that she could

not confirm the city because she had been without cell phone service for nearly two hours and

unable to contact her sister. Trooper Krause asked when they had rented the car. Angela replied

that they rented the car the day before. Trooper Krause asked how they were related. Adrienne

responded that they called each other cousins because they have known each other a long time

and refer to themselves as the “A Lo’s” because both of their first names start with “A” and their

last names are Lopez.

          Trooper Krause then requested to search the vehicle. Adrienne responded that they were

given the right to go earlier, that they were tired, had not showered, and were in a rush. Trooper

Krause again asked to search, explaining that a lot of drugs are transported on that highway in

rental cars. Angela denied consent to search. Trooper Krause then asked if they would wait for

him to inquire about the availability of a drug canine and Angela responded that she agreed to

wait.

          Trooper Krause returned to his car and requested that the dispatcher send a canine from

Liberal, Kansas. The dispatcher responded that the canine would arrive in approximately twenty

minutes. Trooper Krause returned to the women’s car, and advised them of the canine’s

estimated arrival time. At this point, Trooper Krause requested Adrienne Lopez’s identification;

she provided him with a California state identification card and he returned to his car to check on

her status. The dispatcher reported that Adrienne had four prior arrests for controlled substance


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offenses in 2005, 2006, and 2007. Trooper Krause returned to the women’s vehicle, and gave

Adrienne her identification card. When Angela again asked if they were free to go, Trooper

Krause indicated not, telling her to turn off the car engine.

       Approximately thirty minutes after Trooper Krause requested a drug canine,.Officer

Chris Head of the Liberal Police Department arrived on the scene with his canine, Rex. Trooper

Krause had the two women exit their vehicle. As they exited, the women left the passenger side

window rolled down. Officer Head, inspected the women’s car to ensure that there were no

sharp or dangerous objects that could injure Rex. During Officer Head’s inspection, he did not

enter the car or open any doors or windows.

       Officer Head testified that when he gave Rex the command to sniff the vehicle, Officer

Head was standing about eight feet away, near the back of the vehicle. Officer Head did not

escort nor accompany Rex during Rex’s sniff of the vehicle. Rex started his sniff at the driver’s

side of the vehicle and then continued around to the passenger’s side.

       Rex alerted at the passenger’s side and proceeded to jump through the passenger window

without any direction from Officer Head. Officer Head explained that Rex typically “alerted,” or

showed that he smelled the presence of drugs but had not located the source, by jumping on his

hind legs. Once inside the vehicle, Rex indicated by sitting on the passenger’s seat and focusing

on Adrienne’s purse. Officer Head explained that Rex typically “indicated,” or showed that he

found drugs, by sitting or laying down and placing his nose as closely as possible to the scent of

the drugs. After Rex indicated on the purse, Officer Head opened the passenger door to allow

Rex to exit the vehicle. Officer Head next commanded Rex to search the vehicle a second time;

this time Officer Heard walked around the car with Rex. Rex again, indicated on the purse,


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without any commands or signaling from Officer Head.

       Once Rex gave a positive indication on the purse, Trooper Krause informed the two

women that he intended to search the entire vehicle. Adrienne admitted to Trooper Krause that

she had a small amount of marijuana in her purse. When Trooper Krause searched the purse, he

found marijuana in a container labeled “Blueberry Kush.” Trooper Krause’s search of the

interior of the vehicle yielded a 28-quart Coleman cooler in the rear seat area, which contained

four vacuum sealed bags, which Trooper Krause believed to be illegal drugs. Trooper Krause

field tested of the substance in the bags and received a positive result for methamphetamine. The

substances were later tested by the DEA laboratory, and determined to be nearly two kilograms

of 100% pure methamphetamine. About fifty minutes passed from the start of the traffic stop

until the point that the canine and then Officer Head completed a search of the car.

II.    DISCUSSION

       A.       STANDING

       The Government contends that Adrienne lacks standing to challenge the search of the car

because she was not the owner, driver, and was not on the rental agreement. Fourth Amendment

rights are personal and cannot be claimed vicariously.1 “It is immaterial if evidence sought to be

introduced against a defendant was obtained in violation of someone else’s Fourth Amendment

rights.”2 Standing therefore “turns on the classic Fourth Amendment test: whether society is

prepared to recognize [a particular] expectation as objectively reasonable.”3 It is well



       1
        Rakas v. Illinois, 439 U.S. 128, 133–34 (1978).
       2
        United States v. Rascon, 922 F.2d 584, 586 (10th Cir. 1990).
       3
        United States v. Allen, 235 F.3d 482, 489 (10th Cir. 2000).

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established that passengers have no reasonable expectation of privacy in a vehicle when the

passenger neither asserts a proprietary or possessory interest in either the vehicle or its contents.4

However, it is recognized that persons do not shed their individual interests in being free from

unlawful seizures merely because they are traveling as passengers in automobiles.5

        Because Adrienne offered no evidence of her ownership or possessory interest in the

vehicle, she failed to show that she had an objectively reasonable expectation of privacy in the

car. Thus, she may not directly challenge the search of the car. Rather, Adrienne may challenge

her detention. She would also have standing to challenge the evidence obtained from the car

search if it was the fruit of an unlawful arrest.6 But, as described more fully below, Adrienne

was not unlawfully arrested. Therefore, only Angela, as the driver and renter of the vehicle, has

standing to challenge the search of the vehicle.

        B.       INITIAL STOP

        Under the Fourth Amendment, a traffic stop is a “seizure” which is reasonable only if (1)

the officer’s action was “justified at its inception,” and (2) the detention was “reasonably related

in scope to the circumstances which justified the interference in the first place.”7 In Arizona v.

Johnson,8 the Supreme Court explained that “the first Terry condition—a lawful investigatory

stop—is met whenever it is lawful for police to detain an automobile and its occupants pending



        4
         Rakas, 439 U.S. at 148.
        5
         See United States v. Eylicio-Montoya, 70 F.3d 1158, 1163 (10th Cir. 1995).
        6
         Id. at 1164; United States v. DeLuca, 269 F.3d 1128, 1132 (10th Cir. 2001) (examining factual nexus
requirement between a passenger’s detention and the vehicle search).
        7
         Terry v. Ohio, 392 U.S. 1, 19-20 (1968).
        8
         555 U.S. 323, 327 (2009).

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inquiry into a vehicular violation,” and the police need not believe the vehicle is involved in

criminal activity.9 “A traffic stop is justified at its inception if an officer has (1) probable cause

to believe a traffic violation has occurred, or (2) a reasonable articulable suspicion that a

particular motorist has violated any of the traffic or equipment regulations of the jurisdiction.”10

The officer’s subjective motives are irrelevant and the Court examines only whether the stop was

objectively justified.11 Reasonable suspicion may be supported by an “objectively reasonable”

good faith belief even if premised on factual error.12 Furthermore, “reasonable suspicion may

rely on information less reliable than that required to show probable cause . . . and it need not be

correct.”13

        It is undisputed that Trooper Krause had a reasonable suspicion to stop the car, for the car

exceeded the speed limit by fourteen mph, in violation of K.S.A. § 8–1560. Defendants offer no

argument against the reasonable suspicion supporting Trooper Krause’s initial stop. After the

stop, Angela’s failure to produce a valid driver’s license violated another traffic law, K.S.A. §

8–244, which requires that a driver produce a valid driver’s license to an officer upon request. .

        C.          SCOPE AND DURATION OF DETENTION

        Defendants challenge their detention as exceeding the permissible scope and duration of

the initial traffic stop, in violation of the Fourth Amendment. Even if the initial stop of

defendant’s vehicle was legitimate, the detention must be “reasonably related in scope to the

        9
         Id.
        10
            United States v. Winder, 557 F.3d 1129, 1134 (10th Cir. 2009).
        11
            United States v. White, 584 F.3d 935, 945 (10th Cir. 2009).
        12
            United States v. Vercher, 358 F.3d 1257, 1261 (10th Cir. 2004).
        13
            Id. (internal citations omitted).

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circumstances which justified the interference in the first place.”14 “Generally, an investigative

detention must last no longer than is necessary to effectuate the purpose of the stop.”15 However,

in the course of a routine traffic stop, an officer “may request vehicle registration and a driver’s

license, run a computer check, ask about travel plans and vehicle ownership, and issue a

citation.”16 An officer may also run a simultaneous check of the detainees’ criminal history.17

         Thereafter, “when a driver has produced a valid license and proof of entitlement to

operate the vehicle, an officer may issue a citation, but then usually must allow the driver to

proceed without further delay or questioning.”18 “A stop generally ends when the officer returns

the driver’s license, registration, and insurance information.”19

         There is no evidence that the initial stop of Defendants was prolonged beyond what was

necessary to effectuate the purpose of the stop. Defendants do not dispute that Angela was

speeding nor that she failed to produce a valid driver’s license. And, Trooper Krause’s initial

line of questioning about the women’s travel plans was appropriate to determine whether

Angela’s driving might be impaired from exhaustion. In the early minutes of the stop, Adrienne

volunteered to give Trooper Krause her identification, but he declined the offer because at that

point, his investigation was limited to Angela’s traffic violation and possible impairment.


         14
          United States v. Williams, 271 F.3d 1262, 1266 (10th Cir. 2001); United States v. Bustillos-Munoz, 235
F.3d 505, 512 (10th Cir. 2000).
         15
           United States v. Cervine, 347 F.3d 865, 870–71 (10th Cir. 2003) (internal quotation omitted); United
States v. Patten, 183 F.3d 1190, 1193 (10th Cir. 1999).
         16
           United States v. Zubia-Melendez, 263 F.3d 1155, 1161 (10th Cir. 2001).
         17
           United States v. McRae, 81 F.3d 1528, 1535 n.6 (10th Cir. 1996).
         18
           Patten, 183 F.3d at 1193 (citing United States v. Hunnicutt, 135 F.3d 1345, 1349 (10th Cir. 1998)).
         19
           See United States v. Werking, 915 F.2d 1404, 1409 (10th Cir. 1990)).

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       Trooper Krause’s request for Angela’s driver’s license and rental agreement were

reasonably related to the circumstances justifying the stop—a speeding infraction. Once the

dispatcher responded that Angela had no warrants and that she had a valid driver’s license,

Trooper Krause quickly completed the nonconsensual stop. He issued Angela a written

warning, returned her documents, explained the traffic warnings, and wished the women a safe

trip, indicating that they were free to go. At this point, only twelve minutes had expired between

when Trooper Krause first stopped the car and when he wished the women a safe journey. The

investigative detention terminated in a relatively brief period of time. Accordingly, the Court

finds that the duration of the initial traffic stop was an appropriate amount of time and did not

exceed the scope of investigating the traffic violations.

       D.       CONSENSUAL ENCOUNTER

       Defendants argue that even if the initial stop was valid, Trooper Krause’s investigatory

actions after returning the documents to Angela violated the Fourth Amendment as an

unreasonable search and seizure, because at that point, the encounter was not consensual. A

longer detention for additional questioning unrelated to the traffic stop is permissible under two

circumstances: (1) the officer has an objectively reasonable and articulable suspicion that illegal

activity has occurred or is occurring; or (2) the initial detention changes to a consensual

encounter.20 If an encounter between a police officer and a motorist is consensual, the Fourth

Amendment ban on unreasonable searches and seizures does not come into play.21

       Defendants urge that the encounter was not consensual because they refused consent to



       20
         United States v. Hunnicutt, 135 F.3d 1345, 1349 (1998).
       21
         See United States v. Walker, 933 F.2d 812, 817 (10th Cir. 1991).

                                                       9
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search the vehicle and requested to leave the scene. But, there was an interim period of time

between when the stop became a consensual encounter and before the women refused consent to

search. First, Trooper Krause had returned Angela’s documents and physically broke contact by

walking away from the vehicle, signaling that they were free to continue their journey. Indeed,

Angela engaged the turn signal as Trooper Krause walked away from the vehicle, demonstrating

her awareness that she was free to leave. When Trooper Krause returned to the car, he asked,

“You mind if I ask you a few more questions?” At this point, the two women consented to

additional questioning, rendering the encounter consensual, for a reasonable person under these

circumstances would believe that they were free to decline Trooper Krause’s request to ask more

questions.

       Defendants argue that even if they did give consent, it was invalidated by a coercive

show of authority. In determining whether consent was voluntarily given or coercively

extracted, the court must look to whether a reasonable person would feel she was free to leave or

disregard the officer’s request when considering the totality of the circumstances.22 The audio-

video recording of the stop shows Trooper Krause aside their car, bent down with his arms to his

side and his hands on his mid-thigh—not physically touching the car. His tone was

conversational and there was no other indication that Trooper Krause made a coercive show of

authority. Trooper Krause neither displayed his weapon, nor leaned on the car, nor touched the

occupants. The Court finds that the audio-video recording supports Trooper Krause’s testimony

that he did not make a coercive show of authority.

       E.       REASONABLE SUSPICION OF DEFENDANTS


       22
         See United States v. Cardenas-Alatorre, 485 F.3d 1111, 1118–19 (10th Cir. 2007).

                                                      10
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       After Trooper Krause questioned them about their travel plans, the rental of the car and

how they were related, he asked if he could search their vehicle because drugs are frequently

transported on that highway. Angela refused consent to search, and at that point, the encounter

became nonconsensual.

       Upon termination of the consensual encounter, an extended detention is lawful only if the

officer had a reasonable and articulable suspicion of criminal activity.23 The Court finds that

Trooper Krause well articulated that he had reasonable suspicion to detain the two women, based

on several factors: (1) the women could not confirm the state of their final destination, Nebraska

or “Kansas City”; (2) Adrienne talked excessively for a passenger, an indication of her

nervousness; (3) Angela had rented the vehicle for two days, an unreasonably short term given

the distance of their trip; (4) it would have been nearly impossible for Angela to timely return the

car; and (5) Adrienne urged Trooper Krause to avoid looking at the backseat because it was a

“mess.” Moreover, after running a check on her state identification card, Trooper Krause

learned that Adrienne had four prior “controlled substance” offenses.

       Defendants attempt to discount each of the individual factors. However, the factors are

not to be examined individually.24 The Supreme Court has stressed that the “totality of the

circumstances” test “allows officers to draw on their own experience and specialized training to

make inferences from and deductions about the cumulative information available to them that

‘might well elude an untrained person.’”25 Trooper Krause did not rely on one specific factor,



       23
         See United States v. Turner, 928 F.2d 956, 959 (10th Cir. 1991).
       24
         United States v. Arvizu, 534 U.S. 266, 271 (2002).
       25
         Id. (quoting United States v. Cortez, 449 U.S. 411, 417-418 (2005)).

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but many factors in his determination of reasonable suspicion. While under Defendants’

analysis, any one of the trooper’s factors may be explained away, the Court concludes that these

factors when taken as a whole sufficiently caused the trooper to have a reasonable suspicion of

criminal activity that justified a prolonged investigative detention.26

         Defendants argue that they did not consent to their continued detention to await the

arrival of the drug canine. Although Angela did not consent to Trooper Krause’s search of the

car, she did consent to waiting on the drug dog. And, when Trooper Krause informed the

women of the canine’s estimated arrival time—twenty minutes—Angela made no attempt to

withdraw her consent. Nonetheless, the prolonged investigative detention was proper. Use of a

drug dog to walk around the exterior of a defendant’s car does not implicate legitimate privacy

interests protected by the Fourth Amendment.27 Where a motorist does not consent to a

prolonged encounter, “an officer may nonetheless extend a detention when he or she observes

specific and articulable facts supporting a reasonable suspicion that the driver is engaged in

illegal activity.”28 Thus, consent is not required for a dog sniff of a lawfully detained vehicle.29

         As stated above, Trooper Krause had reasonable suspicion of criminal activity to detain

the women at the time they denied consent for Trooper Krause to search the car. Adrienne even

remarked that she needed some marijuana because the ride was taking so long. Their consent

was not required and the Court finds that Trooper Krause was able to rely on reasonable

         26
          United States v. Bradford, 423 F.3d 1149, 1157 (10th Cir. 2012) (explaining that a series of otherwise
innocent factors may be sufficient, when taken together, to support a conclusion that a trooper has a particularized
and objective basis for suspecting criminal activity).
         27
           See Illinois v. Caballes, 543 U.S. 405, 409 (2005).
         28
           United States v. Cash, 733 F.3d 1264, 1274 (10th Cir. 2013).
         29
           United States v. Chavira, 9 F.3d 888, 890 n.1 (10th Cir. 1993).

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suspicion alone to prolong the encounter for a drug canine to sniff the vehicle.

        Moreover, the evidence does not support Defendants’ position that Trooper Krause

engaged in a coercive show of force. The video shows that Trooper Krause did not lean on the

car, nor place his head inside the car window when he asked Angela for her consent to wait for a

drug canine. Trooper Krause also testified that he did not place his head inside the vehicle at any

point, because such a gesture would expose him to safety risks. And this Court concludes that

without any coercive show of force, and with an equivocal consent by Angela– to wait on the

drug dog– but not to consent to Krause’ search– the detention for twenty minutes to await the

arrival of a drug dog was reasonable.30

        F.       CANINE SNIFF

        Defendants argue that the canine sniff was invalid because Officer Head directed Rex

into the car and Rex failed to alert prior to entering the car. But the Tenth Circuit has upheld as

valid, a search in which a dog instinctively enters a vehicle, without the direction, assistance or

encouragement of his police handler.31 The video shows Trooper Krause and Officer Head

standing at the back of the vehicle. Neither officer signaled to Rex nor opened the doors or

windows of the car for Rex to enter. The passenger side window had been left open by the two

women. When Officer Krause gave Rex the command to perform the sniff hewas standing

approximately eight feet away. The video recording shows that Rex began his search and

entered the car’s open passenger side window without any direction or assistance from Officer

Head. Only when Rex had entered the vehicle did Officer Head walk up to the car and peer

        30
          See United States v. Mendoza, 468 F.3d 1256, 1261 (10th Cir. 2006) (extended detention of forty minutes
waiting for a drug-sniffing dog was reasonable).
        31
          See United States v. Stone, 866 F.2d 359, 364 (10th Cir. 1989).

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inside, to ascertain Rex’s safety and to determine whether Rex had further alerted or indicated.

Officer Head never entered the vehicle with Rex while he was searching. While Rex did not

indicate on the exterior of the vehicle, Rex alerted prior to entering the car and indicated in the

backseat where Adrienne’s purse was located. Moreover, the fact that Officer Head walked

around the car with Rex a second time is immaterial because Rex had already alerted and

indicated during the first search, which he conducted independently. Accordingly, the Court

finds that the canine search was valid.

         G.       PROBABLE CAUSE TO SEARCH CONTENTS OF THE VEHICLE

         Defendants object to the subsequent search of the vehicle, arguing that the “plain view”

and “search-incident-to-arrest” doctrines do not apply. But the Government does not invoke

either of these doctrines. The Court finds that this search was a proper “warrantless search of an

automobile.... justified by the vehicle’s inherent mobility and the diminished expectation of

privacy which surrounds the automobile.”32 “Under the automobile exception to the Fourth

Amendment’s warrant requirement, ‘police officers who have probable cause to believe there is

contraband inside an automobile that has been stopped on the road may search it without

obtaining a warrant.’”33 “Probable cause to search a vehicle is established if, under the totality of

the circumstances, there is a fair probability that the car contains contraband or evidence.”34


         32
           United States v. Arzaga, 9 F.3d 91, 94 (10th Cir. 1993) (citing United States v. Chadwick, 433 U.S. 1, 12
(1977)); see United States v. Beckstead, 500 F.3d 1154, 1165 (10th Cir. 2007) (“Although the automobile exception
is based in part on exigency, ‘the justification to conduct such a warrantless search does not vanish once the car has
been immobilized; nor does it depend upon a reviewing court’s assessment of the likelihood in each particular case
that the car would have been driven away, or that its contents would have been tampered with, during the period
required for the police to obtain a warrant.’” (citations omitted)).
         33
         United States v. Vazquez, 555 F.3d 923, 930 (10th Cir. 2009) (quoting Florida v. Meyers, 466 U.S. 380,
381 (1984)).
         34
           United States v. Chavez, 534 F.3d 1338, 1344 (10th Cir. 2008).

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Here, the officers had probable cause based on the canine search alone. A a drug dog’s alert to

the presence of drugs is independently sufficient to establish probable cause to search the entire

car, including the trunk.35

        H.       FRUIT OF THE POISONOUS TREE

        Because the Court finds that the stop and search were proper, the Court denies

Defendants’ motion to suppress any statements made by them on or after their detention and

search of the vehicle. These statements were not fruit of the poisonous tree.36

        IT IS THEREFORE ORDERED BY THE COURT that Defendant Adrienne Lopez’s

Motion to Suppress Evidence Regarding Car Stop, Drug Dog Search, and Statements (Doc. 74)

and Defendant Angela Marie Lopez’s Motion to Suppress Evidence (Doc. 70) are DENIED.

Dated: March 18, 2014

                                                              S/ Julie A. Robinson

                                                              JULIE A. ROBINSON

                                                              UNITED STATES DISTRICT JUDGE




        35
          United States v. Parada, 577 F.3d 1275, 1282 (10th Cir. 2009); United States v. Stewart, 473 F.3d 1265,
1270 (10th Cir. 2007).
        36
          See, e.g., United States v. Maio, 182 F. Supp. 2d 1025, 1035 (D. Kan. 2001).

                                                        15
